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         9.        This Court shall retain jurisdiction to enforce this Order, and to

amend it as necessary, pursuant to Rule 32.2(e) of the Federal Rules of Criminal

Procedure.



                   ORDERED this 5th day of April, 2021.


                                                        /s/ Kevin McNulty

                                                       HONORABLE KEVIN MCNULTY
                                                       United States District Judge


The undersigned hereby consent to
the entry and form of this Order:

RACHAEL A. HONIG
Acting United States Attorney
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                                                                            Dated:
By: ANTHONY TORNTORE
    MATTHEW FELDMAN NIKIC



                                                                            Dated:    )f.. t;-: O' J
MICHAEL GILBERTI, ESQ.
Attorney for Defendant
William Green



                                                                            Dated:     +/c;   I   2-./




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